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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
          STATE OF WASHINGTON,                               Case No. 2:20-cv-1232-RSL
 9

10                                     Plaintiff,            STATUS REPORT AND
                                                             STIPULATED MOTION
11                       v.

12        U.S. NATIONAL ARCHIVES AND
          RECORDS ADMINISTRATION, an agency
13
          of the United States of America,
14
                                       Defendant.
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16
             The parties, by and through their counsel of record, hereby STIPULATE AND AGREE
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     to the following:
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     1.      This case involves a February 3, 2020 Freedom of Information Act (“FOIA”) request made
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     by the Washington State Attorney General’s Office related to the National Archives at Seattle.
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     2.      As the Court is aware, the parties have conferred and resolved disputed issues between
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     them such that the only remaining issue pertains to Plaintiff’s request for attorney’s fees and costs.
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     Dkt. 18.
23
     3.      The parties jointly request additional time to try and reach a negotiated resolution on these
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     issues. The parties anticipate reaching a final decision regarding a potential settlement within 14
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     days. Accordingly, the parties agree and stipulate that there is good cause for the Court to provide
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     the parties an additional 14 days to either a file a joint stipulation of dismissal or to propose a
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28   STATUS REPORT AND STIPULATED MOTION                                     UNITED STATES ATTORNEY
     2:20-cv-1232-RSL                                                       700 STEWART STREET, SUITE 5220
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                                                                                    (206) 553-7970
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 1   stipulated briefing schedule.

 2   4.     Based on the good cause identified above, and in order to try to conserve judicial resources,

 3   the parties jointly stipulate that they will either provide this Court with a joint stipulation of

 4   dismissal or propose a stipulated briefing schedule within 14 days.

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 6   IT IS SO STIPULATED, THROUGH PARTIES OF RECORD.

 7
     DATED this 29th day of November, 2021.
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 9   NICHOLAS W. BROWN                                    ROBERT W. FERGUSON
10   United States Attorney                               Attorney General

11   s/ Katie D. Fairchild                                s/ Lauryn K. Fraas
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28   STATUS REPORT AND STIPULATED MOTION                                    UNITED STATES ATTORNEY
     2:20-cv-1232-RSL                                                      700 STEWART STREET, SUITE 5220
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                                                                                   (206) 553-7970
            Case 2:20-cv-01232-RSL Document 22 Filed 11/30/21 Page 3 of 3




 1                                         ORDER

 2        IT IS SO ORDERED.

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          Dated this 30th day of November, 2021.
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 6                                                 ROBERT S. LASNIK
                                                   United States District Judge
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28   STATUS REPORT AND STIPULATED MOTION                           UNITED STATES ATTORNEY
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